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                                                       EXHIBIT C
                                                     BANK ACCOUNTS


                Bank                    Account Name           Account No. Ending   Approx. Account Balance
                PNC Bank, N.A.          Main Operating                7143               $15,100,000
                PNC Bank, N.A.          Porter & Curtis Claims        3766                    $0
                PNC Bank, N.A.          AOB Payroll                   0306                    $0
                PNC Bank, N.A.          HSA Payroll                   0915                    $0
                M&T Bank Corp.          AAR Roman Catholic            6155                  $51,694
                M&T Bank Corp.          Capital Campaign              3351                $3,764,716
                M&T Bank Corp.          Newman Center Towson          7321                  $35,737
                WesBanco Bank, Inc.     Catholic Review               6104                 $102,089
                Bank of America, N.A.   Child Nutrition               6000                 $164,784




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